              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                         3:01cr66-MOC-11

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
Vs.                                           )             ORDER
                                              )
CONRADO MEJIA-ESPINOSA, JR.,                  )
                                              )
_______________________________               )

      THIS MATTER is before the court on the government’s motion to dismiss

without prejudice the above-captioned Bill of Indictment as it relates to defendant

Conrado Mejia-Espinosa, Jr.     Having considered the motion and reviewed the

pleadings, the court enters the following Order.

                                      ORDER

      IT IS, THEREFORE, ORDERED that plaintiff’s motion to dismiss (#502)

the above-captioned Bill of Indictment as it relates to Conrado Mejia-Espinosa, Jr.,

is GRANTED without prejudice.



                                          Signed: July 26, 2011




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